Exhibit 16
                                                                           (/)




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   Everything shown is in our inventory at our showroom in Worcester, Massachusetts. If you are
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                                  still in stock & available for pickup.


 IMPORTANT! Certain Firearms, Ammo & Accessories may be restricted in your State. Your order will
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                                           Cancelation Policy
    -ALL SALES ARE FINAL; In the event an exception is made to allow a cancelation on an order a
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                                          Century
                                        7.62x39mm
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ABOUT US


About Us: The Gun Parlor Inc. was established in 2010. In the summer of 2013, we opened our first retail
location in Worcester, MA. At our location, we carry a wide range of firearms, ammunition, and accessories from
all major manufacturers. We have a state of the art indoor shooting range that handles rifle,pistol ,shotgun &
machine gun fire. We also offer a wide range of firearms training classes as well .We can also order any
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